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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                Criminal No. 21-173 (PJS/DTS)




UNITED STATES OF AMERICA,

                               Plaintiff,                  MOTION OF DEFENDANT FOR
vs.                                                         CONTINUANCE OF MOTION
                                                               HEARING COURT DATE
ANTON JOSEPH LAZZARO,

                               Defendant.


       The defendant, Anton Joseph Lazzaro, by and through his attorney, Charles S. Clas Jr.,

respectfully moves the Court for an order rescheduling the upcoming motion hearing currently

scheduled for February 17, 2022. A continuance until March 21, 2022 is requested. Mr. Lazzaro

is seeking this continuance to ensure he is able to retain new trial counsel to sufficiently represent

him in all matters related to the upcoming motion hearing.

       Mr. Lazzaro discharged his attorneys Zachary Newland and Catherine Turner on February

3, 2022. Mr. Newland and Ms. Turner served as Mr. Lazzaro’s lead counsel and were responsible

for all criminal motion practice. Attorneys Charles Clas and Steven Kessler remain as attorneys of

record for Mr. Lazzaro. Mr. Clas has not been responsible for any motion practice. Mr. Kessler

has been solely responsible for addressing all forfeiture related motions. Mr. Lazzaro intends on

hiring new lead counsel to represent him in all future motion hearings and serve as lead trial

counsel moving forward.

       Counsel for Mr. Lazzaro has conferred with Assistant United States Attorney Laura

Provinzino who has been made aware of the circumstances of the requested continuance. Ms.

Provinzino advised that the Government is opposed to this request.
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       Mr. Lazzaro was indicted in August 2021. Mr. Lazzaro was arrested in August 2021 and

has remained in custody at the Sherburne County Jail since that time. Mr. Lazzaro is

simultaneously filing a motion for exclusion of this time period from the Speedy Trial Act

Calculation.




                                          Respectfully submitted,

                                          WILSON & CLAS

Dated: 2/8/2022                           /s/ Charles S. Clas, Jr.
                                          Charles S. Clas, Jr., esq.
                                          Attorney ID No.: 396427
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was duly filed and served upon

counsel of record, via the Court’s CM/ECF system, this 8th day of February 2022.



Dated: 2/8/2022                              /s/ Charles S. Clas, Jr.
                                             Charles S. Clas, Jr., esq.
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